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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

 MICHAEL PERRONE, as a participant in             :
 and on behalf of the Johnson & Johnson           :
 Savings Plan, and on behalf of a class of all    :   Civil Action No.: 19-0923 (FLW)(TJB)
 others who are similarly situated,               :
                                                  :
                          Plaintiff,              :
                                                  :
                   v.                             :           FINAL JUDGMENT AND
                                                  :           ORDER OF DISMISSAL
 JOHNSON & JOHNSON, PETER                         :
 FASOLO, DOMINIC J. CARUSO, and                   :
 JOHN DOES 1-20,                                  :
                                                  :
                          Defendants.             :

           WHEREAS, on February 26, 2021, this Court granted Defendants’ motion to dismiss the

Amended Complaint filed by plaintiffs Michael Perrone, Tom Tarantino, and Rochelle Rosen

(“Plaintiffs”) without prejudice (“Order”) for the reasons set forth in the opinion filed on that date

(Dkt. Nos. 47–48);

           WHEREAS, in lieu of dismissal, the Order granted Plaintiffs thirty (30) days to file an

amended complaint (Dkt. No. 48);

           WHEREAS, on March 26, 2021, the Court signed and placed on the docket a Stipulation

and Order submitted by Plaintiffs to extend the deadline to amend by an additional twenty-one

(21) days (Dkt. No. 50);

           WHEREAS, April 19, 2021 is the current deadline for Plaintiffs to file an amended

complaint pursuant to the Stipulation and Order;

           WHEREAS, Plaintiffs have not filed an amended complaint contemplated by the

Stipulation and Order and, by letter dated April 13, 2021, have informed the Court that they do not

intend to do so within the time allowed; and




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           WHEREAS, Plaintiffs have given notice that they intend to stand on the Amended

Complaint (Dkt. No. 40) and will not seek to amend.

           NOW THEREFORE,

           IT IS on this _____         April
                          14th day of _____________, 2021,

           ORDERED that this action is DISMISSED in its entirety with prejudice and without

costs.

                                                      /s/ Freda L. Wolfson
                                                    ____________________________________
                                                               Hon. Freda L. Wolfson
                                                          United States Chief District Judge




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